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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  (Alexandria Division)

                                                       )
 BENJAMIN VIENT,                                       )
                                                       )
               Plaintiff,                              )
                                                       )
               v.                                      )      No.: 1:18-CV-1562 LMB/MSN
                                                       )
 GANNETT CO., INC.,                                    )
                                                       )
               Defendant.                              )
                                                       )

         CONSENT MOTION FOR ENTRY OF AGREED PROTECTIVE ORDER

        The parties, Plaintiff, Benjamin Vient, and Defendant, Gannett Co., Inc. (“Gannett”),

 submit this Consent Motion for Entry of Agreed Protective Order. For the reasons set forth

 below, the Court should enter the agreed Protective Order attached as Exhibit “A”.

                                           Memorandum

        On February 28, 2020, this Court held a hearing on four pending motions. The Court’s

 rulings on those motions resolved disputes about the proper scope of discovery in this matter and

 the scope of Gannett’s discovery obligations. The Court ordered Gannett to produce any

 remaining discovery within seven days.

        Gannett has since located two agreements with third parties that are responsive to Mr.

 Vient’s requests as narrowed by the Court. Both those agreements contain confidentiality

 provisions and a substantial amount of proprietary information.

        To honor its confidentiality obligations, as well as to protect its proprietary information,

 Gannett reached out to Mr. Vient about the need to have a protective order in place before

 producing the third-party agreement. Gannett submitted a proposed protective order to Mr.
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 Vient. Mr. Vient reviewed and then signed the proposed protective order and also verbally

 consented to the relief requested herein. Counsel for Gannett has countersigned the proposed

 protective order on behalf of Gannett. Exh. A.

        The parties hereby jointly request that the Court enter the proposed protective order.

 Gannett will produce its remaining discovery following the Court’s entry of the protective order.

 DATED:         March 6, 2020                         Respectfully submitted,



                                                             /s/Laurin H. Mills
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                              CERTIFICATE OF CONFERENCE

        I hereby certify that I conferred with Mr. Vient about the relief requested herein and that

 he has agreed to it.

 DATE: March 6, 2020                                          /s/Laurin H. Mills




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